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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   OCALA DIVISION

 FOUNDATION RESOLUTION CORP.
 and FOUNDATION RESOLUTION
 CORP. PENSION COMMITTEE,

        Plaintiffs,

 v.                                                           Case No: 5:18-cv-458-Oc-30PRL

 AON HEWITT INVESTMENT
 CONSULTING, INC. and ALIGHT
 SOLUTIONS, LLC,

        Defendants.


                                           ORDER
        Defendant Aon Hewitt Investment Consulting, Inc. (“AHIC”) seeks leave to file a reply

 memorandum in support of its motion for summary judgment. (Doc. 168). Upon due consideration,

 Defendant AHIC’s motion (Doc. 168) is GRANTED. AHIC may file a reply limited to 7 pages

 by January 22, 2021; and Plaintiffs may file a sur-reply limited to 7 pages by February 1, 2021.

        DONE and ORDERED in Ocala, Florida on January 12, 2021.




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties
